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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

TERRENCE KEYTON ROLLINS                                           CIVIL ACTION

VERSUS                                                            NO. 19-11415

SHERIFF MARLIN GUSMAN                                             SECTION “B” (2)

                                           ORDER

       A preliminary conference by telephone is hereby scheduled with the undersigned

magistrate judge on OCTOBER 1, 2019 at 10:30 a.m. The purpose of the conference is to

examine the basis of plaintiff’s claims and to select pre-trial and trial dates, if appropriate.

The Clerk is directed to send a copy of this order to counsel for the Orleans Parish Criminal

Sheriff. The Sheriff is directed to have plaintiff, TERRENCE KEYTON ROLLINS

#2473626, made available by telephone for the conference.

       The magistrate judge’s office will initiate the conference call to the prison. Counsel

for defendant must participate in the conference by contacting my office at 504-589-7630 at

the appropriate time.

                                                            22nd day of August, 2019.
                            New Orleans, Louisiana, this _________




                                                    JOSEPH C. WILKINSON, JR.
                                               UNITED STATES MAGISTRATE JUDGE
CLERK TO NOTIFY ALL PARTIES AND

FREEMAN “PETE” RUDOLPH MATTHEWS
ORLEANS PARISH SHERIFF’S OFFICE
819 SOUTH BROAD AVENUE
NEW ORLEANS, LA 70119
